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MIDDLE DISTRICT oF FLoRIDA;;;; ,_

 

UNITED STATES OF AMERICA, and
STATE OF FLORIDA ex rel., KATHLEEN M.
SIWICKI,

Plaintiffs/Relator, Q\S` Q_,V C\ @/V?_'a nw

Filed Under Seal Pursuant to

V° 31 U.s.C. §3730(b)(2)

ARTHUR S. POR'I'NOW, M.D., AND
ARTHUR S. PORTNOW M.D., P.A. d/b/a
APPLE MEDICAL AND CARD[OLOGY
GROUP,

Defendants.

 

CoMPLAINT UNDER THE FALsE cLAlMs AcTs
(31 U.s.c. § 3730(b)(2) and Florida statutes §63.083 et seq)

 

Comes Now, the UNITED STATES of AMERICA, by and through, Kathleen M. Siwicki,
Plaintiff`/Relator, and hereby submits this complaint pursuant to the F ederal and Florida False
Claims Acts, 31 U.S.C. §3730(b)(2) and §68.083 Fla. Stat. respectively, and further states as
follows:

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l. Because of its size, the United States healthcare system is simply too large to
monitor or audit on an individual provider |evel. Simply put, the government cannot sit in every
medical office and ensure that the procedure billed was the procedure provided, or that the

diagnosis provided is correct and based on sound medical judgment. As a result, the Centers for
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Medicare and Medicaid Services (CMS), along with insurers and patients, are forced to place
great trust in the medical records and documents created by physicians to support their
submission of bills. As evidenced by Defendant’s conduct herein, when a physician violates
this trust by creating false records in order to bill for more services than necessary or provided, it
can go undetected for years and cause the government untold losses in the absence of someone
willing to blow the whistle like Relator herein.

2. Arthur S. Portnow, M.D. (hereinafter “Defendant”) and Arthur S. Portnow MD,
P.A. d/b/a Apple Medical and Cardiology Group (hereinafter collectively “Defendants”), have
orchestrated a significant ongoing fraud on the United States government and the state of
Florida, through falsifying medical records and performing unnecessary medical testing on
patients for the sole purpose of unlawful gain and personal enrichment These schemes should
shock no one who has familiarity with the way with which Dr. Portnow has misrepresented

himself and his qualifications in the past.

Parties
A. Relator
3. Under the federal and state False Claims Acts (FCAs), a person with knowledge

of false or fraudulent claims against the government (a “Relator”) may bring an action on behalf
of the government and herself`. The Relator herein is an original source of information within the
meaning of the False Claims Act, 31 U.S.C. §3730(e)(4)(B).

4. Kathleen M. Siwicki is a resident of Bradenton, Florida, She is a Certiiied
Cardiovascular Technologist trained to perform highly skilled technical imaging studies such as
echocardiograms, abdominal, thyroid, carotid and other vascular ultrasounds. Ms. Siwicki holds

advanced certifications in both cardiac and vascular imaging. Ms. Siwicki began working for

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Defendants in April 2014 and resigned on November 14, 2014, after repeatedly witnessing
inappropriate treatment of` patients, fraudulent documentation and fraudulent billing.
B. Defendants
i. Arthur S. Portnow, M.D.

5. Arthur S. Portnow, M.D., is a physician and the sole managing operator and/or
registered agent for the medical offices of Arthur S. Portnow MD, P.A. d/b/a Apple Medical and
Cardiovascular Group located in Sarasota, Florida . Dr. Portnow, through his medical practices
and offices advertises as specializing in internal medicine, geriatric care, cardiovascular disease,
and arrhythmia management He has no board certifications and does not currently have any
hospital privileges. Dr. Portnow has a history of misconduct with both the New York Board of
Medicine and the Florida Board of Medicine. Shortly after starting to practice medicine,
disciplinary actions taken by the New York Board of Medicine resulted in a two-year license
suspension and five-year probation. Dr. Portnow pleaded guilty to engaging in conduct that
evidenced “moral unfitness” and admitted to lying about being board certified in internal
medicine and cardiovascular medicine and forging the aforementioned certificates Dr.
Portnow’s disciplinary actions also included limitations in practicing cardioelectrophysiology
unless he became board certified.

6. Dr. Portnow moved to Florida in 1996 to resume his medical practice after being
fired by Albany Medical Center in New York. According to the Findings of Pact from the state
of Florida Division of Administrative Hearings, Dr. Portnow attempted to secure employment
with Baker & Gilmore, M.D., P.A., a cardiology practice in Jacksonville, Florida when he again
represented himself as being board certified in Intemal Medicine and Cardiovascular Disease.

Baker & Gilmore, sought verification of Dr. Portnow’s board and specialty certifications from

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the American Board of Internal Medicine (ABIM) at which time it was revealed Dr. Portnow
was not certified in either specialty. Furthermore, it was determined that Dr. Portnow had forged
his name on certificates that had been issued to another physician. ln addition to the certification
forgeries, Dr. Portnow fraudulently misrepresented his credentials on insurance forms with the
medical practice as well as on his curriculum vitae (CV) by using the notation “F.A.C.C.,”
indicating he was a Fellow of the American College of Cardiology, while he most certainly was
not.

7. According to the aforementioned Findings of Fact, Dr. Portnow has undergone
multiple psychiatric evaluations with recommendations of continued care for which he has not
followed. One psychiatrist testified Dr. Portnow “was not a pathological liar but could not
identify any other neuropsychopathology.” The report further noted since there did not seem to
be any underlying psychiatric illness to explain Dr. Portnow’s behavior, it appears to be for
“personal gratification alone.” 'I`he report went on to state, in part:

“The Respondent’s conduct is very disturbing because of its nature The

Respondent is mature and experienced enough to have known that his deception

would be discovered and still he perpetrated a fraud on professional colleagues

jeopardizing their professional reputations and business stability. "

8. The Florida Board of Medicine placed Dr. Portnow on probation, during which
time he was not allowed to practice except under the direct supervision of another physician. l-Ie
was required to obtain a psychiatric evaluation and fined $3,500. 'I`he final order was issued
September 5, 2000.

ii. Arthur S. Portnow M.D., P.A. d/b/a Apple Medical and Cardiology Group

9. Arthur S. Portnow M.D., P.A. d/b/a Apple Medical and Cardiology Group, is a for

profit corporation and fictitious name registered with the Florida Secretary and is the agency

through which Dr. Portnow has and continues to submit false claims to the government

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10. Jurisdiction is proper in this Court because Relator seeks relief on behalf of the
United States of America for violations of 31 U.S.C. §3729.

ll. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§1331, 1345, and supplemental jurisdiction to entertain common law or equitable claims
pursuant to 28 U.S.C. §1367(a).

12. Relator has made voluntary disclosures to the government prior to the filing of
this lawsuit as required by 31 U.S.C. §3730(b)(2)

13. This Court has personal jurisdiction over Defendant and venue is proper in the
Middle District of Florida pursuant to 31 U.S.C. §3732(a) because Defendant maintains its
places of business in this District, it transacts business in this District, and because the acts
alleged herein to be in violation of 31 U.S.C. §3729 occurred in this District.

The Nature of the Case

14. Relator began working for Defendant in April, 2014, as the only full-time
ultrasound technologist in the practice. Relator was one of two technicians employed by
Defendant to perform diagnostic cardiac and vascular ultrasounds in his office. Ultrasound is a
non-invasive diagnostic test that has the capacity to diagnose conditions in organs and monitor
blood flow in veins and arteries.

15. Within the first few days of her employment, Relator became aware of the
unusual practices occurring in Defendant’s office. Patients Were being required to have testing
done on different days despite availability and/or the patient’s request. Repetitive studies were
being ordered when previous test results were normal. ln addition, certain ultrasound tests were

always performed together regardless of patient need. Relator often spoke to patients who

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denied having the ailments that Dr. Portnow documented in their medical records. Relator
became increasingly concerned as she had never worked for a cardiologist who treated his
patients in this manner or one who performed such a high volume of ultrasound studies.

16. Relator was required to perform actions that she knew to be inappropriate and
wrong based on her training and experience For example, Relator was told to assign
predetermined billing codes and diagnoses to patient’s records before the patient was examined.
Relator was forced to perform incomplete ultrasound testing on patients due to the shortened
scheduled times for each test in order to accommodate a high volume of patients, Defendant Dr.
Portnow would interpret ultrasound findings as abnormal on studies that she personally
performed and knew were normal.

17. Medicare covers specified ultrasound procedures and will cover additional
procedures if they are clinically effective and medically justified.l 'I`hese services are covered
under §1861(5)(3) of the Social Security Act. The Ethics in Patient Referrals Act (Stark laws)
provision allows an exception for physicians and group practices to provide most in-office
ancillary services (IOAS), such as ultrasound testing, as long as certain requirements are met (42
CFR § 411.355(b)). In the Medicare Payment Advisory Commission’s June 2010 report to
Congress, they noted the rapid growth of services covered by the IOAS exception and considered
evidence that these services are sometimes clinically inappropriate Physician self-referral of
ancillary services creates an incentive to increase volume under Medicare’s current fee-for-

service payment that rewards higher volume.

 

' Centers for Medicare and Medicaid Services (CMS), “Medicare Nationa| Coverage Determinations Manual," Pub.
No. 100-03, ch. l, §220.5.

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A. Fa|sified Medical Records

18. Dr. Portnow recognized that many patients he saw would not need the otherwise
profitable ultrasound tests unless their conditions were misrepresented or other test results were
altered. 'I`herefore, Defendant devised a sophisticated scheme to defraud Medicare whereby
patients’ symptoms and/or conditions were falsified in the medical records in order to make it
appear the indications for the ultrasound testing were appropriate. Patient test results were
routinely falsified simply to justify repeat testing. False diagnoses were assigned to the
Medicare billing to reflect the falsified test results. This was all done to give the appearance that
the services being billed met Medicare guidelines and regulations and to ensure payment for
what would otherwise be considered unnecessary testing.

19. On the first day of employment with Defendant, the office manager, named
Teresa, gave Relator what was referred to as a “cheat sheet” of Medicare approved diagnosis
codes to be used for billing the ultrasound tests. Relator was told to use only the approved
diagnosis codes on the sheet otherwise Medicare would not pay for the ultrasound studies. In
previous employment and training, Relator was never asked to assign diagnoses codes and felt
uncomfortable being required to attribute conditions that she knew were not based on patients’
test findings In an attempt to gain an understanding of what she was being told, Relator asked
Defendant why she was being instructed to assign a patient who had a normal abdominal aortic
ultrasound, an incorrect diagnosis of an abdominal aortic aneurysm. Defendant told her, “You
are billing the diagnosis that you are looking for in the study. "

20. According to the CMS Claims Processing Manual, Chapter 23, Fee Schedule and
Administrative Coding Requirements, Section 10, states, providers are to code the patient ’s
symptoms when a diagnosis is not definitive and never code suspected diagnoses Proper coding

is necessary on Medicare claims as codes are generally used in determining coverage and payment

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amounts. (Emphasis added). An example would be a patient that had a normal abdominal aortic
ultrasound for symptoms of unexplained abdominal pain. The abdominal pain would be billed as
the diagnosis even though the physician may have ordered the study suspecting an aortic
aneurysm. The abdominal aortic aneurysm would not be coded as the patient’s diagnosis unless
the ultrasound study conclusively showed the condition.

21. Defendant knew by billing this specific condition, “aortic aneurysm of
unspecified site” and selecting the lCD-9 code 441.9, that Medicare would allow the abdominal
aortic ultrasound to be repeated annually. Defendant would use CPT code 93978 (detined as a
duplex scan of aorta, inferior vena cava, iliac vasculature, or bypass grafts) and the above
diagnosis. If Defendant billed a symptom, such as unexplained abdominal pain instead of the
aneurysm diagnosis, then future studies would be denied for Medicare payment or questioned by
CMS since a definitive diagnosis would be required for any further repeat tests. lt became clear
to Relator that Defendant was intentionally using the false diagnosis to open the door to
unnecessary repeat testing such that the government would be none the wiser.

22. Suzanne Summers, the person in Defendant’s office in charge of billing, told
Relator that she was trying to work with Defendant on his “blanket billing” because Ms.
Summers was starting to see a large number of payment denials for ultrasound tests from private
insurance companies but not yet from Medicare. Ms. Summers told Relator that Defendant was
receiving the denials because he used the same diagnoses for patients and was ordering
ultrasound testing too often. Relator was also told by Ms. Summers that Defendant directed her
to, “go back and change the diagnosis codes to see if that would work, " for any tests that were
denied payment by Medicare. It was common practice by Defendant to change diagnoses and

procedure codes in an attempt to receive payment or prevail in appeals on claim denials.

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23. Defendant routinely falsified patients’ diagnoses in their medical records that
were not supported by the ultrasound findings For example, patients were routinely given
diagnoses of “chronic renal failure,” when renal and renal artery ultrasound studies were normal;
“carotid artery plaque,” when carotid ultrasound studies were normal; “atherosclerosis of
extremities with intermittent claudication,” when lower extremity arterial duplex scans were
normal; and “atrial fibrillation and heart valve disorders” which were not supported by the
patient’s medical records. These false diagnoses were central to the scheme perpetrated by
Defendant to increase billing.

24. By falsifying patients’ conditions, Defendants ensured that the medical record
documentation would meet Medicare requirements and withstand CMS inquiries into the
appropriateness of the ordered tests. Relator noticed that patients were repeatedly scheduled for
various types of diagnostic ultrasound and non-invasive arterial/vascular testing. Prior to
performing the ultrasound examination, Relator would follow-up with patients and review their
medical records to verify if there had been any change in their treatment or condition. The
medical record documentation would often conf1ict with what the patient told Relator and with
the actual results of the testing. For example, Relator would ask a patient, “Are you having chest
pain?” or “Do you have hypertension?” and the patients often responded that they did not have
these complaints. While performing ultrasound tests, Relator was repeatedly told by patients that
they did not have the symptoms Defendant had documented in their medical record and they did
not understand why they needed repeat testing. An additional symptom patients frequently
denied suffering from included abdominal and calf pain (intermittent claudication) related to

walking.

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25. The following patient examples are provided to illustrate the Defendant’s
falsification of medical records:2
Medicare patient number 2375

26. Defendant directed Ms. Summers to resubmit a bill to reflect a pancreatic
ultrasound was performed instead of a renal arterial ultrasound (CPT 76770) if Medicare denied
the claim for this patient for service that occurred on August 22, 2014. The billing instructions
were written as follows,

“change to pancreas ultrasound 76 705 if ins [sic] doesn ’t cover. "

Medicare patient number 1305

27. Relator performed a Lower Extremity Arterial Ultrasound Doppler examination
on this patient on October 10, 2014. One of the indications listed for this test by Defendant was
“intermittent claudication.” Prior to performing the test, Relator’s routine assessment of the
patient found there were no complaints of lower leg pain or cramping as had been noted by
Defendant in the medical record. If there had been pain as Defendant documented, then there
would be indication for the test to be performed with the expectation that blockages would be
found. However, in addition to the absence of complaints about pain, Relator observed no
blockages on the ultrasound images and documented the test findings as normal.

28. Defendant’s actions show a lack of regard for his patients while having devised an
elaborate scheme to ensure ultrasound testing could be repeated unnecessarily on patients to
increase billing to Medicare and Medicaid. Defendant falsely interpreted normal test results as
abnormal in order to meet Medicare requirements for repeat studies. Relator frequently

conducted ultrasound testing that showed no abnormalities and documented as such, but

 

2 Relator has supplied Defendant’s internal account number for most patients,

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Defendant would subsequently interpret findings as having “stenosis and follow-up
recommended ” Defendant routinely provided false test interpretations when anatomical sites
could not be visualized as the result of insignificant findings, patient position and/or documented
use of “gray scale” imaging when this measurement capability did not exist on the equipment at
Defendant’s office.
Medicare patient number 1286

29. This patient was a 92-year-old female. On August 26, 2014, a renal and renal
artery ultrasound was attempted on this patient. Due to this patient’s inability to lie on her side
for visualization of the kidney, Relator was unable to obtain images of the renal arteries and
noted that in the tech sheet. Defendant subsequently, without any ability to visualize the renal
arteries, falsely interpreted stenosis (narrowing) of the arteries being present at 30% for both the
left and right sides of the kidney and hand-wrote 30% on the tech sheet as if the technician had
made the notation. Defendant billed Medicare for both ultrasounds.
Medicare patient 0013

30. This patient was a 54-year-old male on Medicare Disability for whom a Carotid
Duplex Ultrasound was performed on August 26, 2014. Relator performed the test on this

’,

patient and found it to be an “essentially normal study. Defendant subsequently provided the

following interpretation:

“Gray scale analysis suggests stenosis of 4 7% and 4 6% for right and left internal
carotid arteries, Antegrade vertebral artery flow is present The right ICA/CCA
ratio is 1.'13 (normal < 2). Clinical correlation is suggested and further followup
[sic] as warranted

 

3 No internal account number was available, so control number 001 is used

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31. ln previous offices where she worked, Relator had access to office equipment that
captured gray scale measurements Relator explained that ultrasound equipment with gray scale
capabilities measures the outside of the vessel and the plaque inside and gives a percentage of
stenosis or narrowing Gray scale shows as different shades of gray causing the image to appear
brighter and allows the image to be more easily viewed compared to the obsolete black and white
display. Unfortunately, the Gray Scale measuring package software was not available on the
Defendants’ outdated office equipment used for imaging the carotid arteries. Without this
information, Defendant could not estimate the percent of occlusion in the vessel thereby making
the test of little to no diagnostic value.

32. Defendant routinely falsified these findings stating the percent of vessel
narrowing using Gray Scale. Defendant knew medical record documentation would need to
support the use of Gray Scale measurements in order to receive Medicare payment The
Medicare requirement for the use of Gray Scale measurements as part of the carotid examination
is noted in the Local Coverage Determination (LCD) L29235 Non-invasive Extracranial Arterial
Studies.4

33. Defendant routinely falsified medical records in order to perform a number of
ultrasound examinations on Medicare and Medicaid patients to include abdominal aortic
ultrasounds, carotid ultrasounds and renal and renal artery ultrasounds.

34. An abdominal aortic aneurysm (AAA) is an abnormal outward ballooning of the

large blood vessel (aorta) that supplies blood to the abdomen, pelvis, and legs usually due to the

 

4Doppler ultrasonography is used to evaluate hemodynamic parameters, specifically the velocity of blood flow and
the pattern or characteristics of flow. A key component of vascular diagnostic ultrasound is the B-mode, or
brightness-mode image. This real time imaging technique provides a two-dimensional gray-scale image of the soft
tissues and vessels based on the acoustic properties ot` the tissues."

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build-up of plaque. Aneurysms usually do not cause any symptoms until they become very large
or rupture and can be difficult to feel through the layers of the abdominal wall.5

35. Abdominal Aortic Duplex Scans/ultrasounds can be used to help screen for
abnormal vessels but are imprecise in measuring aneurysm size which is an important
component of prognosis and in the determination of aneurysm growth.6 If the aneurysm
becomes too large, when the vessel size reaches 5.0 cm (2 in.) or greater, then surgical repair is
typically done.7 The normal range of the aortic vessel size is 1.4 cm - 3 cm. with an average size
of 2.0 cm.

36. Medicare guidelines as stated in the Local Coverage Determination L29159 for
Aorta Duplex Scanning (CPT code 93978) provide coverage for duplex scanning of aorta,
inferior vena cava, iliac vasculature, or bypass grafts when performed for one or more of the
following indications:

0 To confirm a suspicion of an abdominal or iliac aneurysm raised by a physical
examination or noted as an incidental finding on another radiological
examination.

0 The physical examination usually reveals a palpable, pulsatile and nontender
abdominal mass.

The progression of an abdominal aortic aneurysm is monitored and it is expected
that monitoring occur approximately every six (6) months.3

The ICD-9 diagnostic code is 441.9 (Aortic aneurysm, unspecified site, without
mention of rupture).

 

5 EMedicineHealth. Abdominal Aortic Aneurysm.

http;//www.emedicinehealth.com/aogic gnggrysm/page3 em.htm.

6 Society of Vascular Surgery Practice Guidelines. “The Care of Patients with an Abdominal Aortic Aneurysm: The
Society of Vascular Surgery Practice Guidelines; “ Chaikof`, et al. Jouma| of Vascular Surgery, October Supplement
2009.

7 American Heart Association. Cardiology Patient Page; Circulation. Patrick T. O‘Gara, M.D.
http://girc.a_haioumals.org[content/107/6/e43.ful|.

g Society of Vascular Surgery Practice Guidelines state surveillance imaging at six-month intervals is recommended
for patients with an AAA diameter between 4.5 and 5.4 cm.

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37. During her course of employment, Relator witnessed Defendant ordering annual
AAA ultrasound exams on patients, and sometimes more frequently, despite a history of normal
test results. Defendant would then falsely bill Medicare with the payable diagnosis code, “aortic
aneurysm, unspecified site, without mention of rupture” (ICD-9 code 441.9). When patients
presented to Relator for the AAA ultrasound test, she would check the patient’s chart and
routinely notice Defendant would falsely document in the medical record the same medical
indications for all aortic ultrasounds as: “abdominal bruit” and “abdominal pulsatile mass.”
These symptoms were routinely used on patients when Defendant ordered abdominal aortic
ultrasounds despite not being evident to Relator during the test.

38. An abdominal “bruit” is the swooshing sound that is made when blood is trying to
be pushed past an obstruction such as plaque. This noise can be heard through a stethoscope
while examining the abdomen. An aneurysm can also pulsate as the heart is pumping blood
through the compromised vessel wall. Sometimes this can be felt as a pulsating mass, although it
can be difficult to identify due to the thick stomach layers.

39. A physical exam that would include feeling and listening to the abdomen would
reveal a pulsatile mass and bruit at which time an ultrasound could confirm a possible aneurysm,
If the patient had an abdominal bruit and/or pulsatile mass it would be observed in the ultrasound
image as evidence of vibration in the tissue surrounding the arterial narrowing Relator
continued through her ultrasound imaging that these symptoms did not exist for many of these
patients yet Defendant falsely documented these indications in order to be able to repetitiver
order the AAA ultrasounds.

40. Defendant would receive the normal images sent by Relator through the computer

and would interpret them by falsely documenting an aneurysm as being present, but that it was

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“not significant, " when no aneurysm actually existed. Defendant falsely diagnosed these non-
existent aneurysms so studies could be repeated the following year according to Medicare
guidelines9 In addition, Defendant would routinely document that “clinical correlation is
suggested and further followup [sic] as warranted ” when no further treatment was provided
except for repeating unnecessary studies.lo The following are examples of ultrasound tests
where Defendant routinely used and then falsified inforrnation, such as conditions and/or
symptoms, as indications for the testing and falsified test findings:
Medicare patient number 1242

41. This patient was a 69-year-old female who had an Aortic Abdominal Duplex Scan
(ultrasound) performed on January 9, 2014. Relator’s tech sheet showed normal aortic vessel
size with the distal and proximal aorta measuring between 1.60- 2.37 cm. (normal range 1.4 cm -
3.0 cm.). Relator’s interpretation summary documented, “This was essentially a normal study. "
Defendant’s final report concluded:

“Based on dimension recorded, the greatest diameter of the abdominal aorta

occurs proximally at 2.4 x 2.4 cm. (rounding is standard practice). T here is no

evidence of a significant aneurysm. Clinical correlation is suggested and further

jbllowup [sic] as warranted”

42. Defendant, in an attempt to suggest an aneurysm was present but not
“significant,” intentionally documented misleading statements in order to justify the false
indications of “abdominal bruit” and “pulsatile mass” but also to justify billing the test and the

false diagnosis of an aortic aneurysm (unspecified) which would allow continued monitoring of

ultrasound tests according to Medicare coverage guidelines In addition to falsely documenting

 

9 Medicare Policy & Guidelines- LCD for AAA monitoring
'° According to the Society of Vascular Surgery Practice Guidelines, if any aneurysm is detected, the patient should
have a C'l` scan to exclude rupture and be referred to a vascular surgeon. A CT scan is the preferred initial test in

patients with significant risk factors or a pulsatile mass.

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that an aneurysm was present, Defendant never documented any measurements indicating the
size of the alleged aneurysm that would make it necessary for future follow-up or clinical
correlation.
Medicare patient number 1276

43. This patient was a 76-year-old female who had an Aortic Abdominal Duplex Scan
(ultrasound) performed on August 28, 2014. Defendant’s final report concluded,

“Based on dimension recorded, the greatest diameter of the abdominal aorta

occurs in the proximal and distal segments at 2. 25 x 2. 25 cm. (normal range 1.4

cm - 3.0 cm.). No evidence of a significant aneurysm. Clinical correlation is

suggested and further followup [sic] as warranted "
Once again Defendant, in an attempt to falsely imply an aneurysm was present but not
“significant,” intentionally documented false statements in order to justify ordering the initial
ultrasound test, and then billed the false diagnosis in an effort to justify the continued monitoring
with ultrasound studies while falsely meeting Medicare guidelines In addition to falsely
documenting an aneurysm was present, there was no specific documentation by Defendant
identifying the size of the alleged aneurysm that would make it necessary for future follow-up or
clinical correlation. According to the Medicare billing, this patient had two unnecessary
Abdominal Aortic Ultrasound tests (CPT 93978) performed that allegedly showed there was an
“no evidence of a significant aneurism" on June 14, 2012 and .lune 18, 2013. However, and
somewhat medically impossible, as aneurism do not generally disappear with surgery, the next
study performed on August 28, 2014 was normal.
Medicare patient number 1305

44. This patient was a 45-year-old male on Medicare disability. On October 10,
2014, Defendant ordered an Aortic Abdominal Duplex Scan (ultrasound) using the same

indications of “Abdominal bruit and abdominal pulsatile mass.” According to Defendant report,

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the abdominal aortic findings were normal measuring 2.64 x 2.64 cm (normal range 1.4 cm - 3.0
cm) with no evidence of an aneurysm. Relator knew upon conducting the ultrasound
examination the patient did not have an abdominal bruit and/or an abdominal pulsatile mass as
had been falsely documented by Defendant, which was supported by the normal study findings
Carotid Artery Ultrasounds (CPT code 93880)

45. According to the Society of Radiologists, carotid duplex scan/ultrasound is by far
the most common imaging examination performed worldwide to aid in the diagnosis of carotid
disease.ll This vascular imaging study is typically the only test performed before surgical
intervention so it is of utmost importance that information provided by the doctor’s examination
is reproducible and reliable according to the Society of Radiologists.12

46. Carotid Artery Ultrasounds are used to determine if there is any abnormal build-
up of plaque (atherosclerosis) within the major extracranial and intracranial arteries, specifically
the carotid and vertebral arteries, leading to the brain. 'l`his excessive build-up of plaque can lead
to a Trans-Ischemic Attack (TIA) and/or stroke. The internal carotid artery (ICA) is used as the
primary parameter in determining stroke risk.

47. Defendant routinely ordered annual carotid ultrasound exams on patients, and
sometimes more frequently, despite normal results When patients presented to Relator for the
carotid ultrasound test, she would check the patients’ chart and routinely noticed Defendant
would document in the medical record the same canned symptoms for all patients such as
“hypertension, hypercholesterolemia, heart murmur and carotid bruit.” After repeatedly

performing these carotid ultrasound studies and not finding any evidence of carotid bruits in the

 

" Carotid Artery Stenosis: Gray Scale and Doppler Ultrasound Diagnosis- Society of Radiologists in Ultrasound
Consensus Conference. Radiology 2003: Vol. 229, No.2; pgs. 340-346. Edward Grant, M.D., et al.
http://scottalexander.me/wo-content/ur)loads/20l2/03/US-carotid-stenosis-PSV-values-grant-radiol-2003.ndf.
12 -

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test, Relator realized Defendant was falsely documenting the carotid bruit in order to meet
Medicare requirements for the test.

48. A carotid bruit is a swooshing sound that is made when blood is trying to be
pushed past an obstruction such as plaque. This noise can be heard through a stethoscope while
examining the neck but is unlikely to be heard if the stenosis occludes less than 40% of the
diameter of the artery. If the patient had a carotid bruit, as the Defendant suggested, then it
would also be observed during the ultrasound testing as a vibration in the tissue surrounding the
arterial narrowing Relator confirmed through her ultrasound imaging that these symptoms did
not exist for many patients and Defendant falsely documented these indications in order to be
able to order the carotid ultrasound and subsequently bill Medicare.

49. Defendant routinely falsely interpreted carotid artery reports documenting the use
of Gray Scale when the office ultrasound machine did not have this measurement capacity.
Despite not having this capability, Defendant would routinely interpret the percent of plaque
occlusions that would meet Medicare guidelines for continued monitoring with ongoing
ultrasound testing According to the Society of Radiologists, any occlusion measurement less
than 50% is virtually undetectable by ultrasound.13 Defendant routinely interpreted occlusions
less than 50% in order to meet Medicare guidelines for retesting.

50. Defendant would receive the normal images sent by Relator through the computer
and would interpret them by falsely documenting that stenosis was present when none actually
existed. Medicare was then billed for a false diagnosis taken from the Medicare Payable

Diagnoses list for carotid duplex ultrasounds. Relator was required by Defendant to use either

 

'3 Carotid Artery Stenosis: Gray Scale and Doppler Ultrasound Diagnosis- Society of Radiologists in Ultrasound
Consensus Conference. Radiology 2003: Vol. 229, No.2; pgs. 340-346. Edward Grant, M.D., et al.
httn://scottalexander.me/wn-content/ur)loads/2012/03/US-carotid-stenosis-PSV-values-grant-radiol-2003.r)df.

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occlusion or stenosis of carotid artery without mention of cerebral infarction (stroke) or rupture
(1CD-9 code 433.10) or other symptoms involving cardiovascular system (ICD-9 code 785.9).
This was done so studies could be repeated the following year according to Medicare guidelines
In addition, Defendant would routinely document, “clinical correlation is suggested and further
followup [sic] as warranted” when no further treatment was provided except for repeating
unnecessary studies The following are examples of carotid ultrasound tests where Defendant
routinely used and then falsified infonnation, such as conditions and/or symptoms, as indications
for the testing and falsified test findings:
Medicare patient number 2946

51. This patient was a 36-year-old male on Medicare disability with a history of
psychiatric disorders This patient was accompanied by his mother for an appointment on
September 30, 2014, who told Relator their insurance company referred them to Defendant.
Relator performed the carotid ultrasound study on this patient and found it to be an “essentially
normal study.” The tech sheet shows the ICA/CCA ratio to be 0.57 on the right and 0.51 on the
left (normal < 2). Defendant documented on the report the canned indications for the test as
“hypertension, hypercholesterolemia, heart murmur and carotid bruit.” Relator never detected a
carotid bruit during the exam and was unable to detect any blockages The ultrasound report was
interpreted by Defendant claiming to use gray scale as follows:

"Gray scale analysis suggests stenosis of 25 % and 30%f0r right and leji‘ internal

carotid arteries. Antegrade vertebral artery flow is present, Clinical correlation

is suggested and further follow-up is warranted "
Defendant intentionally falsified the percent of occlusion using gray scale measurements that

were not even available on the equipment used and falsified the indications for the test in order

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to make it meet the Medicare criteria. This patient’s carotid duplex scan/ultrasound exam was
normal.
Medicare patient 001

52. This patient was a 54-year-old male on Medicare Disability who had a Carotid
Duplex Ultrasound perforated on August 24, 2014. Relator performed the test on this patient
and found it to be an “essentially normal study.” Defendant documented on the report the
indication for the test as “hypertension, hypercholesterolemia, heart murmur and carotid bruit. "
Relator never detected a carotid bruit during the exam and knows this combination of conditions
was used regularly as indications despite being nonexistent. 'I`he ultrasound report was
interpreted by Defendant who claimed to use gray scale as follows:

"Gray scale analysis suggests stenosis of 4 7% and 46% for right and left internal

carotid arteries. Antegrade vertebral artery flow is present The right ICA/CCA

ratio is 1:]3 (normal < 2). Clinical correlation is suggested and further followup

[sic] as warranted

53. Defendant intentionally falsified the percent of occlusion using gray scale
measurements that were not even available on the equipment and falsified the indications for the
test in order to make it meet the Medicare criteria This patient’s carotid duplex scan/ultrasound
exam was normal.

Renal Ultrasounds (CPT 76770) and Renal Artery Duplex Scans (CPT 93975)

54. A renal ultrasound is used to determine the size, shape and location of the
kidneys It may be helpful in detecting cysts, tumors, obstructions, abscesses, fluid collection or
infection in the kidneys. For billing purposes, a renal ultrasound test is included in the
retroperitoneum due to the close proximity of other organs and structures This area includes the

pancreas, kidneys, bladder, abdominal aorta and other surrounding structures Defendant

routinely billed retroperitoneal ultrasound testing represented by CPT code 76770.

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55. The renal artery ultrasound or duplex scan is a separate test from the renal
ultrasound and focuses on the blood flow to surrounding organs, such as the kidneys. These
arteries may narrow or become blocked and this may result in kidney failure or uncontrolled
hypertension if not corrected. This test measures the speed of blood flow through the arteries
and determines the degree of narrowing of the artery or renal artery stenosis (RAS).

56. Defendant routinely ordered annual, and sometimes more frequently, renal
ultrasounds and renal artery studies on patients despite normal test results When patients
presented to Relator for the renal ultrasounds and renal artery tests, she would check the patients’
chart and would notice that Defendant would ascribe patients the same canned conditions for the
tests that were performed, “vascular disorder of the kidneys, atherosclerosis of the renal arteries

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and unspecified essential hypertension.’ Relator knew from her training and previous work
experience the indications for renal artery studies would include treatment for hypertension that
were resistant to medications and included abnormal urine tests While reviewing patients’
medical records, she noticed this was not representative of the patients’ conditions even though
they had been scheduled for both a renal ultrasound and renal arterial study.
Medicare patient number 1286

57. This patient was a 92-year-old female who had a routine renal ultrasound and
renal artery scan performed on August 26, 2014. Prior renal ultrasounds (CPT 76770) and renal
arterial studies (CPT 93975) were performed on May 3, 2012 and June 14, 2013. Defendant’s
order was for the renal ultrasound and renal artery scan to be done together at the same
scheduled time for the same canned indications “vascular disorder of the kidneys,

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atherosclerosis of the renal arteries and unspecified essential hypertension.’ Relator

documented on the tech sheet that the test was a suboptimal study obtaining limited views due to

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the patient’s inability to hold her breath and being forced to lie on her back due to immobility.
Relator was unable to visualize both renal arteries and documented that on the tech sheet.
Relator described this patient as frail and slightly demented. This patient’s daughter
accompanied her on the visit and told Relator she did not understand why Defendant kept
ordering annual tests on a 92-year-old woman who had difficulty turning on her side for the tests
and, as a result, the images could not be obtained and the study would not show the renal
arteries.

58. Despite not being to see the renal arteries on the scan, Defendant falsely
interpreted both the right and left renal arteries as having 30% obstruction and hand-wrote the
30% on the tech sheet as if the technician had written it. Defendant’s report read as follows:

“Based on peak flow velocity, the greatest degree of stenosis of right and left

renal arteries measure 1-49% with gray scale analysis of 30 and 30% for right

and left renal arteries without evidence of critical stenosis. ”

59. The renal study had been duplicated from the prior year, .lune 14, 2013, despite
the August 26, 2014 renal ultrasound showing kidney normal measurements (8.22 cm).
Routinely ordering testing with no medical indication would be considered a screening exam
according to Medicare guidelines and non-covered since the renal ultrasound and the arterial
studies did not change the clinical course of this elderly patient.

60. Defendant falsely interpreted the findings of the renal arterial exam (CPT 93975)
and the conditions under which the exam occurred. The renal ultrasound (CPT 76770-59) was
falsely billed with a modifier -59 which Defendant knew was required in order to receive
Medicare payment for both tests This modifier allows claims to bypass payment edits because
it indicates that the first test was abnormal and lead to an additional follow-up test to be

performed at a separate time. Relator knew this was never the situation and that all renal

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ultrasounds were ordered with renal arterial studies and performed at the same time regardless of
the exam findings Defendant knowingly falsified interpreted test result findings and falsified
the billing
Medicare patient number 2422

61. This patient was a 67-year-old female who received a routine renal ultrasound and
renal arterial study on August 26, 2014. Prior renal ultrasound and renal artery studies were
done on October 28, 2013. Defendant’s order was for both the renal ultrasound and renal artery
scan to be done together at the same scheduled time for the same canned indications “vascular
disorder of the kidneys, atherosclerosis of the renal arteries and unspecified essential
hypertension " Relator visualized a normal exam and documented such on the tech sheet.

“This was essentially a normal study. No evidence of RAS (renal arterial stenosis)
bilaterally. "

Defendant falsely interpreted the findings using gray scale analysis describing the arteries as
follows:

“Based on peak flow velocity, the greatest degrees of stenosis of right and left

renal arteries measure 1-49% with gray scale analysis of 48 and 45% for right

and left renal arteries without evidence of critical stenosis. Based on dimensions

recorded the right renal parenchyma measures 10.5 x 4. 81 x 4.21 cm (normal 8.4

cm - 13.1 cm +/- 2) and on the left side 9.50 x 4.5 7 x 5.54 cm. No evidence of a

critical cyst, mass or calculi is present Clinical correlation is suggested and

further followup [sic] in the future indicated as warranted "

62. Relator knows through her training and extensive job experience the renal artery
ultrasound images cannot be visualized to the level of detail needed to allow Defendant to assign
a specific percent of obstruction (48% and 45%) due to the small size of the vessels The renal
artery diameter is approximately 5-6 mm or the width of a pencil eraser. Defendant routinely

interpreted occlusions less than 50%. According to the Society of Radiologists, any occlusion

measurement less than 50% is virtually undetectable by ultrasound testing Diminished images

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are even more pronounced in smaller vessels such as the renal artery. This is in contrast to other
more sophisticated testing techniques such as the Magnetic Resonance Angiogram (MRA).

63. Defendant would receive the normal images sent by Relator through the computer
and would interpret them by falsely documenting the percent of artery obstruction and
suggesting that stenosis was not “critical” when none actually existed. Defendant randome
assigned borderline arterial obstructions so studies would appear abnormal and could be repeated
according to Medicare guidelines In addition, Defendant would routinely document that
“clinical correlation is suggested and further followup [sic] as warranted ” when no further
treatment was provided except for repeating unnecessary studies

64. Defendant falsely interpreted the findings of the renal arterial exam (93975) and
the conditions under which the exam occurred. The renal ultrasound (CPT 76770-59) was
falsely billed with a modifier -59 which Defendant knew was required in order to receive
Medicare payment for both tests This modifier allows claims to bypass payment edits because
it indicates that the first test was abnormal and lead to an additional follow-up test to be
performed at a separate time. Relator knew this was never the situation and that all renal
ultrasounds were ordered with renal arterial studies and performed at the same time regardless of
the exam findings Defendant knowingly falsified interpreted test result findings and falsified
the billing
Medicare patient number 2175

65. This patient was a 55-year-old female on Medicare disability who received a
routine renal ultrasound on August 26, 2014. Defendant’s order was for both the renal
ultrasound and renal artery scan to be done together at the same scheduled time for the same

canned indications “vascular disorder of the kidneys, atherosclerosis of the renal arteries and

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unspecified essential hypertension " Relator was able to visualize a normal exam and
documented such on the technician’s sheet as follows:

“This was essentially a normal study. No evidence of RAS (renal artery stenosis)
bilaterally. "

Defendant falsely interpreted the findings using gray scale analysis describing the arteries as
follows:

“Based on peak flow velocity, the greatest degrees of stenosis of right and left

renal arteries measure 50-59% and 1-49% with gray scale analysis of 53 and

45 % for right and left renal arteries without evidence of critical stenosis. Based

on dimensions recorded the right renal (kidney) parenchyma measures ]0.0 x

3.31 x 4.06 cm and on the lej? 9.02 x 4.61 x 3. 78 cm. (normal 8.4 cm - 13.1 cm

+/- 2). No evidence of critical cyst, mass or calculi is present Clinical correlation

is suggested and further followup [sic] in the future indicated as warranted "

66. Relator knows through her training and extensive job experience the renal artery
ultrasound images cannot be visualized to the level of detail needed to allow Defendant to assign
a specific percent of obstruction (53% and 45%) due to the small size of the vessel. Relator’s
tech sheet showed the Ao SV measurement for the proximal renal artery to be 83.2 cm/s (normal
50-100 cm/s), which is a key indicator for renal artery stenosis

67. Defendant would receive the normal images sent by Relator through the computer
and would falsely interpret them by documenting the percent of artery obstruction and
suggesting that stenosis was not “critical” when none actually existed. Defendant randome
assigned borderline arterial obstructions so studies would appear abnormal and could be repeated
according to Medicare guidelines In addition, Defendant would routinely document that
“clinical correlation is suggested and further followup [sic] as warranted” when no further
treatment was provided except for repeating unnecessary studies

68. Defendant falsely interpreted the findings of the renal arterial exam (CPT 93975)

and the conditions under which the exam occurred. The renal ultrasound (CPT 76770-59) was

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falsely billed with a modifier -59 which Defendant knew was required in order to receive
Medicare payment for both tests
Medicare patient number 1862

69. This patient was a 91-year-old female who received a routine renal ultrasound and
renal arterial study on August 26, 2014. Defendant’s order was for both the renal ultrasound and
renal artery scan to be done together at the same scheduled time for the same “canned”
indications “vascular disorder of the kidneys, atherosclerosis of the renal arteries and
unspecified essential hypertension.” Relator was able to visualize a normal exam and
documented supportive findings as follows:

RAR 1.12 (normal < 3.5),

RA SV 115 cm/s right renal artery (nonnal < 150 cm/s)

RA SV 75.8 cm/s left renal artery (normal < 150 cm/s)
Defendant falsely interpreted the findings using gray scale analysis describing the arteries as
follows:

“Based on peak flow velocity, the greatest degrees of stenosis of right and left

renal arteries measures 1-49% with gray scale analysis of 49 and 35% for right

and left renal arteries without evidence of critical stenosis Based on dimension

recorded the greatest diameter of the right renal parenchyma measures 8. 05 x

4. 73 x 3.0] cm and on the left 8.22 x 4.51 x 3.50 cm. (norma18.4 cm - 13.] cm

+/- 2). No evidence of a critical cyst, mass or calculi is present, Clinical

correlation is suggested and further followup [sic] in the future indicated as

warranted ”

70. Defendant would receive the normal images sent by Relator through the computer
and falsely interpreted them by documenting the percent of artery obstruction while suggesting
that the stenosis was not “critical” when none actually existed. Relator knows through her

training and extensive job experience the renal artery ultrasound images cannot be visualized to

the level of detail needed to allow Defendant to assign a specific percent of obstruction (49% and

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35%) due to the small size of the vessel. Defendant randome assigned borderline arterial
obstructions so studies would appear abnormal and could be repeated according to Medicare
guidelines In addition, Defendant would routinely document that “clinical correlation is
suggested and further followup [sic] as warranted ” when no further treatment was provided
except for repeating unnecessary studies

71. Defendant falsely interpreted the findings of the renal arterial exam (CPT 93975)
and the conditions under which the exam occurred. The renal ultrasound (CPT 76770-59) was
falsely billed with a modifier -59 which Defendant knew was required in order to receive
Medicare payment for both tests 'Ihis modifier allows claims to bypass payment edits because
it indicates that the first test was abnormal and lead to an additional follow-up test to be
performed at a separate time. Relator knew this was never the situation and that all renal
ultrasounds were ordered with renal arterial studies and performed at the same time regardless of
the exam findings Defendant knowingly falsified interpreted test result findings and falsified
the billing

72. Defendant knew by routinely using billing modifier -59 with CPT code 76770
when billing CPT code 93975, Medicare claim edits would be bypassed allowing payment for
the tests Defendant also knew by billing these codes together using the modifier that it did not
meet the indications and requirements set forth by Medicare’s NCCI coding requirements
Relator was instructed by Defendant to perform the renal ultrasound and the renal artery studies
together regardless of normal test findings Patients were routinely scheduled to have these tests
performed on the same day and at the same scheduled time. Relator was only allowed 30
minutes per patient to complete both a renal ultrasound and renal artery duplex scan by

Defendant, Relator knows from her training and experience that standard testing time for a renal

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ultrasound is 30 minutes while a renal artery study takes approximately 45 minutes which is a
significantly greater time commitment than what Defendant allowed.

73. After completing a patient’s ultrasound test, Relator was required by Defendant to
assign one of the provided diagnosis codes from the approved list or cheat sheet (Exhibit 5).
This list of ultrasound tests with matching Medicare payable diagnosis codes was routinely used
to bill Medicare for diagnoses that Relator knew the patient did not have as a result of the test
she had just performed, Patients were commonly given false diagnoses of unspecified chronic
kidney disease (ICD-9 code 585.9), atherosclerosis of renal artery (ICD-9 code 440.1) and
vascular disorders of kidney,

Lower Extremity Arterial Ultrasound Doppler Study (CPT code 93925)

74. A duplex Doppler ultrasound uses traditional ultrasound methods to produce an
image of a blood vessel. A computer converts the Doppler sounds into a graph that provides
information about the speed and direction of blood flow and any obstructions.'4 The purpose of
a lower extremity arterial evaluation is to detect the presence, severity and location of
atherosclerosis (narrowing of the arteries caused by plaque) in the legs Part of this study
includes taking blood pressure measurements in the legs and arms called Ankle Brachial
Pressure Index (ABI). An ABI measurement is a good indicator of blocked arteries and the need
for further follow-up if there is a lower blood pressure in the leg compared to the arm.

75 . Medicare will consider a lower arterial ultrasound Doppler study for the following
conditions:

0 A decreased Ankle/Brachial Indices (ABI) result from a previous exam.

 

14 The Lowdown on Extremity Studies; Radiology Today; Vol. 10, No. 12. Lauren Jandroep, O'I`R, CPC-EMS, CPC-
H, RCC; Pg. 8. June 15, 2009.

http://www.radiologjgoday.net/archive/rt06150998.shtrnl#sthash.t3wwiHld.dguf

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0 Claudication (pain in leg caused by walking) of less than one block or of such
severity that it interferes significantly with the patient’s occupation of lifestyle.

76. Non-invasive studies of the arterial system are to be utilized when invasive
correction is contemplated but not to follow non-invasive medical treatment regimens such as
evaluating pharmacologic intervention or unchanged symptomatology. When an ABI is
abnormal (< 0.9) it must be accompanied by another appropriate indication before proceeding to
more sophisticated or complete studies except in patients with severely elevated ankle
pressure.ls

77. In Relator’s past experience, ABI’s were always done at the time the lower
extremity arterial studies were done. When she started working for Defendant, Relator was told
not to do them because the medical assistants routinely performed ABI’s on all office patients lt
was common knowledge among the staff that Defendant still ordered lower extremity arterial
studies regardless of normal ABI results This does not meet Medicare’s policy and guidelines
as stated above and resulted in the Defendant submitting invoices and being paid for medically
unnecessary testing

78. ABI ranges are considered normal from l.0 to 1.4. ABI Readings in the range of
0.8 to 0.9 can mean there is some arterial disease and may be probable signs of intermittent
claudication.16 A value below 0.9 is considered diagnostic of peripheral arterial disease (PAD).

79. Alier completing a patient’s ultrasound test, Relator was required by Defendant to
assign one of the provided diagnosis codes from the “approved list”. This list of ultrasound tests
with their matching Medicare payable diagnosis codes was routinely used to bill Medicare for

diagnoses Relator knew the patient did not have as a result of the tests she had performed It was

 

'5 Ankle Brachial Index. Stanford School of Medicine. www.stanfordmedicine25.standford.edu/the25/ankle.html.
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common that patients be given false diagnoses of atherosclerosis of extremities with intermittent
claudication (ICD-9 code 440.21) and peripheral vascular disease, unspecified (ICD-9 code
443.9) that were not evident in the test results 'I`he “cheat sheet” given to Relator also instructed
her on what codes not to use, such as atherosclerosis of renal artery (ICD-9 440.1), since
Medicare would not pay for this diagnosis with this service.

80. Relator is aware Defendant routinely ordered the lower extremity arterial studies
on patients annually, and sometimes more frequently, despite normal results When patients
presented to Relator for the test, she would check the patient’s chart and notice Defendant would
document in the medical record the same canned symptoms for all patients as “hypertension,
hypercholesterolemia, and bi-femoral bruits and intermittent claudication.” After repetitiver
performing these lower arterial studies and not finding any evidence of bi-femoral “bruits” in the
test and patients denying having symptoms of intermittent claudication (pain in lower leg with
walking), Relator realized Defendant was falsely documenting the patient conditions of bi-
femoral bruits and intermittent claudication in order to meet Medicare requirements for the test.

81. Relator provides the following patient examples whereby patients had lower
extremity arterial studies done at the same time abdominal aortic ultrasounds were performed,
Defendant falsely documented that both Ms. Leibold and Mr. Ecock had symptoms of bi-femoral
bruits with intermittent claudication and abdominal bruits with abdominal pulsatile masses
Relator expected to see severe atherosclerotic disease as a result of Defendant’s significant
physical exam findings but instead saw normal ultrasound studies for both abdominal and lower
extremities Relator knew that Defendant falsified patient conditions in order to justify
completing the tests

Medicare patient number 1242

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82. This patient was a 69-year-old female who received a lower extremity arterial
ultrasound Doppler study on January 9, 2014, (same day as the abdominal aortic ultrasound) for
hypertension, hypercholesterolemia, and bilateral bi-femoral bruits with intermittent
claudication. Relator was able to visualize a normal exam and documented supportive findings
on the tech sheet. The Doppler waveform was documented as “multiphasic flow” which was
normal resting blood flow with no occlusions.l7 This was further supported by Defendant’s
documentation of a normal ABI of 1.0 for both lower extremities Defendant falsely interpreted
the findings as follows:

“Based on peak flow velocity, the greatest degrees of stenosis of the right lower

extremity occur in the right common femoral artery at 50 - 59% as it does in the

mid superficial femoral artery as well. The proximal and distal superficial

femoral arteries and the proximal tibial artery have stenosis of 48%. On the left

side, the left common femoral artery has stenosis of 50 - 59%. The proximal

superficial and mid superficial femoral arteries have stenosis of 48%.

Multiphasic waveforms are seen bilaterally and ankle brachial indices of l.O

bilaterally. Clinical correlation is suggested and further fbllow in the future

indicated "

83. Defendant received the normal images sent by Relator through the computer and
falsely interpreted them by documenting various amounts of artery stenosis being present when
none actually existed. Relator knows through her training and extensive job experience the
lower extremity arterial ultrasound images were normal and did not visualize the specific percent
of` obstruction Defendant noted in the report. Defendant randomly assigned borderline arterial

obstructions so studies would appear abnormal and could be repeated according to Medicare

guidelines In addition, Defendant would routinely document that "clinical correlation is

 

'7 “Spectral Doppler Signature Wavefonns in Ultrasonography; A Review of Norrnal and Abnormal Waveforms.
Megan Wood, et al. Ultrasound Quarterly; Vol. 2; No. 2. June 2010.

http://www.slredultrasound.com/Filesandpictures/Guidelines10.Qdf

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suggested and further fbllowup [sic] as warranted " when no further treatment was provided
except for repeating unnecessary studies
Medicare patient number 1305

84. This patient was a 45-year-old male on Medicare Disability who received a lower
extremity arterial ultrasound Doppler study on October 10, 2014 (same day as the abdominal
aortic ultrasound). Relator was able to visualize a normal exam, no bi-femoral bruits and
documented the following on the tech sheet: “This was essentially a normal study. ” Defendant
falsely interpreted the findings as follows:

“Based on peak flow velocity, the greatest degree of stenosis of the right and leff

lower extremities occur at no greater than 46% bilaterally. Clinical correlation is

suggested and further followup [sic] in the future is indicated as warranted ”

85. Defendant received the normal images sent by Relator through the computer and
falsely interpreted them by documenting 46% of artery stenosis being present when none
actually existed. Relator knows through her training and extensive job experience the lower
extremity arterial ultrasound images were normal and did not visualize the specific percent of
obstruction Defendant noted in the report. Defendant randome assigned borderline arterial
obstructions so studies would appear abnormal and could be repeated according to Medicare
guidelines Relator also knows from the normal test results it is very unlikely that this patient
would not be symptomatic with intermittent claudication as Defendant falsely documented in the
medical record.

B. Medically Unnecessary Testing

86. Relator has first-hand knowledge, and it was well known among the office staff,

that Defendant coerced or misled patients into getting tests they did not want or feel were

necessary. There were frequent “no-shows” for ultrasound studies and patients would refuse or

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walk out of testing On many occasions Defendant told patients that their insurance required the
tests and they would lose their insurance if the tests were not done,

87. When Medicare patient number 1911 questioned Defendant about why she
needed to have an ultrasound study done, Relator overheard Defendant tell the patient that if she
did not get the test done, “Medicare might drop her. "

88. Relator had a conversation with an 83-year-old Medicare patient (002), who told
her he had complained to Defendant about having to come to the office on separate days for all
of the testing because he had $25 copay for each visit. Defendant told this patient that his
insurance company, “Freedom,” required the tests and also required them to be done on different
days This patient told Relator he called his insurance company and they assured him that it was
Defendant who required the tests and not them.

89. On September 30, 2014, Medicare patient 003 was in the office for a repeat renal
ultrasound test. This patient had undergone a renal ultrasound test 3 months prior on June 17,
2014 and told Relator she was going to start keeping track of the frequency of tests because “he
was all about the money.”

90. During Relator’s employment with Defendant, patients were subjected to a
barrage of multiple diagnostic ultrasounds without regard to current condition or future treatment
plans Defendant routinely ordered ultrasound tests on patients that were medically unnecessary
and did not change the course of treatment or offer any therapeutic value to the patient’s
wellbeing. In many instances patients were forced to undergo extremely uncomfortable
positions for extended periods of time while these tests were being performed.

Medicare patient number 2834

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91. This patient was an 87-year-old patient who had an abdominal aortic ultrasound
performed by Relator on May 27, 2014. This patient was known to have advanced pancreatic
cancer with metastases to the bone and liver prior to Defendant ordering the aortic ultrasound.
The test was normal however any potential findings of an aortic aneurysm at this stage in his
disease process would be inoperable making this ultrasound test medically unnecessary.
Defendant had also ordered a carotid ultrasound but this patient was in so much pain while lying
on the exam table that Relator refused to complete the testing knowing it was unnecessary.
Medicare patient number 1286

92. This patient was a 92-year-old female on Medicare who had a routine renal
ultrasound and renal artery scan performed by Relator on August 26, 2014. Her daughter
accompanied her since she had mild dementia, was uncomfortable on the exam table, and was
unable to lie on her side for the test. This patient’s daughter was upset that Defendant kept
putting her mother through all of these tests when nothing would be done due to her advanced
age and told Relator this would be the last time she would allow any more testing on her mother.
Despite having an incomplete test performed due to this patient’s inability to cooperate,
Defendant falsely interpreted the results

93. Relator knew because of patient 2834’s terminal illness and patient l286’s age,
they were not candidates for future treatment related to these ultrasound studies Defendant
knew these tests were medically unnecessary and therefore did not meet Medicare’s coverage
policy. Defendant instructed the office staff to book ultrasound tests on a strict time schedule
that did not allow adequate time for the studies to be performed On more than one occasion,
Relator expressed concern to Defendant about the limited time requirements and the effects of

the test result quality. Defendant responded to Relator by telling her, “that is the way l want it. "

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94. Relator had never encountered this high volume of daily tests in her career as a
certified ultrasound technician and relying on her extensive prior experience, she knew
approximately 18 patients per day was the maximum number that could be done safely and
effectively by one technician. Defendant demanded an abbreviated testing time, which would
allow for an average of 12 to 14 patients each day with each patient receiving two ultrasounds.
lf a patient did not show up for their scheduled ultrasound, Relator was instructed by Tara
Hoggard, Senior Medical Assistant, to pull patients out of the doctor’s waiting room to fill the
vacant space. In response, Relator told Ms. Hoggard that she could not just randome pull
patients without knowing if they needed the test and Ms. Hoggard replied,

“We just do them all on everyone once a year if not sooner. We can get away
with a lot on ultrasounds with the diagnosis code. "

95. Relator was told by Ms. Hoggard that only certain tests could be performed
together and Defendant would order them in a predetermined sequence regardless of need.
Relator was told by Ms. Hoggard not to vary the sequence even if the patient requested since
Medicare would not pay for certain test combinations on the same day of service.18 Relator had
never encountered a situation where ultrasounds tests were routinely ordered and performed in a
predetermined sequence without regard to medical need. This is evidenced on Appointment
Schedules.

The following studies were routinely ordered and performed together:

0 Abdominal Aortic Ultrasound (CPT code 93978) was ordered and scheduled with
non-invasive studies of the lower extremities (CPT code 93925 and 93926).

0 Carotid ultrasound (93880) was ordered and scheduled with transthoracic
echocardiography (CPT code 93306).

 

‘° Medicare National and Local Coverage Detemtinations list tests that can be performed together and others that are
considered inclusive and cannot be combined.

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0 Renal ultrasound (CPT code 76770) was ordered and scheduled with renal artery
ultrasound (CPT code 93975).

96. Defendant methodically ordered and performed unnecessary testing on patients on
an annual basis As described above, two studies would be performed on the same day and
coded in such a way as to get past any Medicare edits that were designed to catch improper
billing Defendant easily manipulated Medicare rules and procedures to ensure that they would
continue pay for the ultrasound examinations The below charts provide the specific ultrasound
performed and the dates of service. Two ultrasound examinations were being performed on each
patient for multiple years in a row. The medical record for the patients below did not support the
need of these ultrasound examinations on an annual basis Defendant manufactured and falsified
diagnosis in order to bill Medicare for ultrasound examinations that were not medically
necessary.

Medicare patient number 1555

97. This patient was an 80-year-old female who received a carotid ultrasound test
(CPT 93880) and an echocardiogram (CPT 93306) twice in 20012 and once in 2013. This
patient also had an abdominal aortic ultrasound (CPT 93978) and bilateral lower extremity
arterial studies (CPT 93925) done at least annually and on the same day as the carotid ultrasound
and the echocardiogram. Renal (CPT 76770) and renal artery (CPT 93975) ultrasounds were
also done at least annually,

Medicare patient number 1276

98. This patient was a 76-year-old female on Medicare. The carotid ultrasound tests
(CPT 93880) were done on the same day as the echocardiograms (CPT 93306) showing the
repetitive pattern of routine tests This duo of tests was performed for three consecutive years

This patient had annual abdominal aortic ultrasounds (CPT 93978) performed despite normal

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findings as evidenced by the August 28, 2014 test results Bilateral lower extremity arterial
studies (CPT 93925) were done at least annually with the abdominal aortic ultrasounds and
occurred once with a carotid ultrasound and echocardiogram. Renal (CPT 76770) and renal

artery (CPT 93975) ultrasounds were also done at least annually,

Medicare patient number 1557

99. This patient was a 75-year-old male on Medicare. The carotid ultrasound tests
(CPT 93880) were done on the same day as the echocardiograms (CPT 93306) showing the
repetitive pattern of routine tests This duo of tesfs was performed for three consecutive years
This patient had annual abdominal aortic ultrasounds (CPT 93978) performed with bilateral
lower extremity arterial studies (CPT 93925). The lower extremity arterial studies were done
annually despite normal finding as evidenced by the August 27, 2014 test results Renal (CPT
76770) and renal artery (CPT 93975) ultrasounds were also done at least annually,
Medicare patient number 1862

100. This patient was a 91-year-old female on Medicare. The carotid ultrasound tests
(CPT 93880) were done on the same clay as the echocardiograms (CPT 93306) showing the
repetitive pattern of routine tests This duo of tests was performed annually, This patient also
had an abdominal aortic ultrasound (CPT 93978) and bilateral lower extremity arterial studies
(CPT 93925) done at least annually and on the same day as the carotid ultrasound and the
echocardiogram. Renal (CPT 76770) and renal artery (CPT 93975) ultrasounds were also
performed annually despite normal results as evidenced by the August 28, 2014 study results
Medicare patient number 1899

101. This patient was a 79-year-old male on Medicare. The carotid ultrasound tests

(CPT 93880) were done on the same day as the echocardiograms (CP'I` 93306) showing the

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repetitive pattern of routine tests This duo of tests was performed annually for at least 3 years
This patient had annual abdominal aortic ultrasounds (CPT 93978) performed with bilateral
lower extremity arterial studies (CPT 93925). Renal (CPT 76770) and renal artery (CPT 93975)
ultrasounds were also performed annually.
Medicare patient number 130

102. This patient was a 45-year-old male on Medicare disability. Based on the
provided billing, the carotid ultrasound tests CPT (93880) have been done at least annually since
2012 showing a repetitive pattern of routine tests The carotid ultrasound was performed once on
the same day as an echocardiogram (CPT 93306). This patient also had abdominal aortic
ultrasounds (93978) and bilateral lower extremity arterial studies (CPT 93925) done at least
annually on the same day despite normal results for both studies as evidenced by the October 10,
2014 test results Renal (CPT 76770) and renal artery (CPT 93975) ultrasounds were also
performed together.
Medicare patient number 2375

103. This patient was a 69-year-old female on Medicare. The carotid ultrasound tests
(93880) have been performed annually since 2013 showing a repetitive pattern of routine tests
ln this instance, the carotid ultrasound was performed once on the same day as an
echocardiogram (CPT 93306). This patient also had abdominal aortic ultrasounds (CPT 93978)
and bilateral lower extremity arterial studies (CPT 93925) performed annually on the same day.
Renal (CPT 76770) and renal artery (CPT 93975) ultrasounds were also performed together once

within 6 weeks and annually according to the billing records

Medicare patient number 1286

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104. This patient was a 92-year-old female on Medicare. Based on the available billing
the carotid ultrasound test (93880) was done once on the same day as the echocardiogram (CPT
93306) showing the repetitive pattern of routine tests This patient also had an abdominal aortic
ultrasound (CPT 93978) and bilateral lower extremity arterial studies (CPT 93925) performed on
the same day as the carotid ultrasound and the echocardiogram. Renal (CPT 76770) and renal
artery (CPT 93975) ultrasounds were also performed annually despite having a normal renal
ultrasound test as evidenced by the August 26, 2014 study.

Medicare patient number 2267

105. This patient was a 72-year-old female on Medicare. The carotid ultrasound tests
(CPT 93880) were done on the same day as the echocardiograms (CPT 93306) showing the
repetitive pattern of routine tests This duo of tests was performed annually for at least 2 years
based on the available billing This patient had regularly scheduled abdominal aortic ultrasounds
(CPT 93978) performed with bilateral lower extremity arterial studies (CPT 93925). Renal (CPT
76770) and renal artery (CPT 93975) ultrasounds were also performed despite having normal test
results as evidenced by the August 27, 2014 study.

Medicare patient number 2422

106. This patient was a 67-year-old female on Medicare. The carotid ultrasound tests
(CPT 93880) were done on the same day as the echocardiograms (CPT 93306) showing the
repetitive pattern of routine tests This duo of tests was performed annually for at least 2 years
based on the available billing This patient had annually scheduled abdominal aortic ultrasounds
(93978) performed with bilateral lower extremity arterial studies (CPT 93925). Renal (CPT
76770) and renal artery (CPT 93975) ultrasounds were also performed despite having normal test

results as evidenced by the August 26, 2014 study.

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Damages

107. Beyond the direct damages paid by the govennnent as a result of the Defendants’
fraudulent scheme, the government suffered an additional element of consequential damages in
the form of the false diagnoses liberally ascribed by Defendants The false diagnosis almost
always results in a more severe diagnosis for a patient than they actually have. This diagnostic
information or data is in turn used to determine the risk profile of various patient populations
The Defendants scheme has directly caused faulty datasets to be created which results in
increased expense to the govemment.

The False Claims Act

108. The FCAs, as amended, provide in pertinent part that:

[A]ny person who (A) knowingly presents or causes to be presented, a false or

fraudulent claim for payment or approval; (B) knowingly makes uses or causes

to be made or used, a false record or statement material to a false or fraudulent

claim; or (G) knowingly makes uses or causes to be made or used, a false

record or statement material to an obligation to pay or transmit money or property

to the Govemment, or knowingly conceals or knowingly and improperly avoids or

decreases an obligation to pay or transmit money or property to the Govemment,

is liable to the United States Government for a civil penalty of not less than

$5,500 and not more than $11,000, as adjusted by the Federal Civil Penalties

Inflation Adjustment Act of 1990. . .plus 3 times the amount of damages which the

Govemment sustains because of the act of that person,

31 U.S.C. § 3729(a)(l) and §68.082 Fla. Stat.

109. 'I'he terms “knowing” and “knowingly” in the FCA provision above “mean that a
person, with respect to information (l) has actual knowledge of the information; (2) acts in
deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of

the truth or falsity of the information.” 31 U.S.C. § 3729(b)(l)(A). No proof of specific intent to

defraud is required. 31 U.S.C. § 3729(b)(l)(B). See also §68.082 Fla. Stat.

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lI. Cost Reporting and Claims Processing Procedures Under the Medicare Program

110. In 1965, Congress enacted the Health lnsurance for the Aged and Disabled Act,
42 U.S.C. § 1395 et seq., known as the Medicare Program, as part of 'I`itle XVIII of the Social
Security Act, to pay for the costs of certain health care services Entitlement to Medicare is based
on age, disability, or affliction with end-stage renal disease. See 42 U.S.C. §§ 426, 426-1.

111. Reimbursement for Medicare claims is made by the United States through the
Centers for Medicare and Medicaid Services (“CMS”), which is an agency of the Department of
Health and Human Services (“Hl-IS”) and is directly responsible for the administration of the
Medicare Program,

112. CMS contracts with private companies referred to as “fiscal intermediaries” to
administer and pay claims from the Medicare Trust Fund. 42 U.S.C. § 1395(u). In this capacity,
the fiscal intermediaries act on behalf of CMS. 42 C.F.R. §413.64. Under their contracts with
CMS, fiscal intermediaries review, approve, and pay Medicare bills, called “claims,” received
from medical providers Those claims are paid with federal funds

113. There are two primary components to the Medicare Program, Part A and Part B.
Medicare Part A authorizes payment for institutional care, including hospitals skilled nursing
facilities and home health care, 42 U.S.C. § l395c-l395i-5. Medicare Part B is a federally
subsidized, voluntary insurance program that covers a percentage of the fee schedule for
physician services as well as a variety of medical and other services to treat medical conditions
or prevent them. 42 U.S.C. §§ l395j-l395w-5. The allegations herein involve Part B for
services billed by the Defendant to Medicare.

114. In order to get paid from Medicare, providers like Defendant herein, complete

and submit a claim for payment on a designated Health lnsurance Claim Form, which, during the

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relevant time period, was or has been designated CMS 1500, This form contains patient-specific
information including the diagnosis and types of services that are assigned or provided to the
Medicare patient. The Medicare Program relies upon the accuracy and truthfulness of the CMS
1500 to determine whether and what amounts the provider is owed.

115. To this end, the Health lnsurance Claim Fonn, CMS 1500, contains the following
certification by the physician or supplier submitting a claim to Medicare:

l certify that the services shown on this form were medically indicated and

necessary for the health of the patient and were personally furnished by me or

were furnished incident to my professional service by my employee under my

immediate personal supervision, except as otherwise expressly permitted by

Medicare or CHAMPUS regulations

That certification is then followed by the following “Notice:”

Anyone who misrepresents or falsifies essential information to receive payment

from Federal funds requested by this form may upon conviction be subject to fine

and imprisonment under applicable Federal laws

A. Conditions of Participation and Conditions of Payment

116. To participate in the Medicare Program, a health care provider must also file a
provider agreement with the Secretary of HHS. 42 U.S.C. § 1395cc. The provider agreement
requires compliance with certain requirements that the Secretary deems necessary for
participating in the Medicare Program and for receiving reimbursement from Medicare.

B. Medical Necessity and Appropriateness Requirements

117. One such important requirement for participating in the Medicare Program is that
for all claims submitted to Medicare, claims may be submitted only when medical goods and
services are (l) shown to be medically necessary, and (2) are supported by necessary and

accurate information. 42 U.S.C. § 1395y(a)(l)(A),(B); 42 C.F.R., Part 483, Subpart B; 42 C.F.R.

§ 489.20.

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118. Various claims forrns, including but not limited to the Hospital Cost Report and
the Health lnsurance Claim Form, require that the provider certify that the medical care or
services rendered were medically “required,” medically indicated and necessary and that the
provider is in compliance with all applicable Medicare laws and regulations 42 U.S.C.
§ l395n(a)(2); 42 U.S.C. § l320c-5(a); 42 C.F.R §§ 411.400, 411.406. Providers must also
certify that the information submitted is correct and supported by documentation and treatment
records Id. See also, 42 U.S.C. § l320c-5(a); 42 C.F.R. § 424.24.

119. The practice of billing goods or services to Medicare and other federal health care
programs that are not medically necessary is known as “overutilization.”

C. Obligation to Refund Overpayments

120. As another condition to participation in the Medicare Program, providers are
affirmatively required to disclose to their fiscal intermediaries any inaccuracies of which they
become aware in their claims for Medicare reimbursement (including in their cost reports). 42
C.F.R. §§ 401.601(d)(iii), 411.353(d); 42 C.F.R. Part 405, Subpart C. See also 42 C.F.R.
§§ 489.40, 489.31. In fact, under 42 U.S.C. § 1320a-7b(a)(3), providers have a clear, statutorily-
created duty to disclose any known overpayments or billing errors to the Medicare carrier, and
the failure to do so is a felony. Providers’ contracts with CMS carriers or fiscal intermediaries
also require providers to refund overpayments 42 U.S.C. § 1395u; 42 C.F.R. § 489.20(g).

121. Accordingly, if CMS pays a claim for medical goods or services that were not
medically necessary, a refund is due and a debt is created in favor of CMS. 42 U.S.C.
§ 1395u(l)(3). In such cases the overpayment is subject to recoupment 42 U.S.C. § 1395gg.

CMS is entitled to collect interest on overpayments 42 U.S.C. § 13951(j).

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III. Other Federally-Funded Health Care Programs

122. Although false claims to Medicare are the primary FCA violations at issue in this
case, the patients who were subjected to the medically unnecessary procedures that are the
subject of this action were beneficiaries of one of three federally-funded health care benefit
programs - Medicare, Medicaid, or 'l`ricare/CHAMPUS. Accordingly, those other two programs
are briefly discussed as well.

123. The Medicaid Program, as enacted under Title XIX of the Social Security Act of
1965, 42 U.S.C. § 1396, et seq., is a system of medical assistance for indigent individuals CMS
administers Medicaid on the federal level while the Florida Agency for Healthcare
Administration serves as the Florida State administrator or counterpart Reimbursement of
hospital costs or charges is governed by Part A of Medicare, through the hospital cost report
system, and reimbursement of physician charges is governed by Part B of Medicare. As with the
Medicare Program, hospitals and physicians may, through the submission of cost reports and
health insurance claim forms recover costs and charges arising out of the provision of

appropriate and necessary care to Medicaid beneficiaries

Claims For Relief

First Cause Of Action
Presentation of False Claims pursuant to 31 U.S.C. § 3729(a)(1)(A)

124. Relator repeats and incorporates herein by reference the allegations contained in
paragraphs l to 123 above as if fully set forth herein.

125. By virtue of the acts alleged herein Defendant has knowingly presented or caused
to be presented false or fraudulent claims for payment or approval in violation of 31 U.S.C. §

3729(a)(1)(A) that is Defendant knowingly made or presented, or caused to be made or

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presented, to the United States, claims for payment for tests, treatments and services for patients
which were medically unnecessary, were not provided, were not provided as billed, lacked
proper documentation, or which were otherwise inappropriate

126. The govemment, unaware of the falsity of the records statements and claims
made or caused to be made by the Defendant, has paid and continues to pay the claims that
would not be paid but for Defendant’s false and fraudulent claims for reimbursement

127. As a result of the foregoing the United States suffered actual damages in an
amount to be determined at trial; and therefore is entitled to treble damages under the False
Claims Act, plus civil penalties of not less than $5,500 and not more than $11,000 per false
claim.

SECOND CAUSE OF ACTION
Making or Using False Record or Statement to Cause Claim to be Paid
Pursuant to 31 U.S.C. § 3729(a)(1)(B)

128. Relator repeats and incorporates herein by reference the allegations contained in
paragraphs 1 to 123 above as if more fully set forth herein,

129. By virtue of the acts alleged herein Defendant knowingly made, used, or caused
to be made or used, false records or statements - i.e., the false certifications false medical
records and other false or fraudulent representations made or caused to be made by Defendant -
material to false or fraudulent claims in violation of 31 U.S.C. § 3729(a)(1)(B).

130. As a result of the foregoing the United States suffered actual damages in an
amount to be determined at trial; and therefore is entitled to treble damages under the False
Claims Act, plus civil penalties of not less than $5,500 and not more than $11,000 per false
claim.

THIRD CAUSE OF ACTION
Making or Using False Record Statement to Avoid an Obligation to Refund

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Pursuant to 31 U.S.C. § 3729(a)(1)(G)

131. Relator repeats and incorporates herein by reference the allegations contained in
paragraphs 1 to 123 above as if more fully set forth herein.

132. By virtue of the acts alleged herein Defendant has knowingly made, used, or
caused to be made or used, false records or statements - i.e., the false certifications medical
records and other false or fiaudulent representations made or caused to be made by Defendant -
material to an obligation to pay or transmit money to the government to knowingly conceal or
knowingly and improperly avoid or decrease an obligation to pay or transmit money or property
to the govemment.

133. The government relied upon the false records or statements in remitting payments
to Defendant and in not seeking reimbursement from Defendant,

FOURTH CAUSE OF ACTION
Florida False Claims Act
Florida Statutes Section 68.081 et. seq.

134. Relator repeats and incorporates by reference the allegations contained in
paragraphs l to 123 above as if fully set forth herein.

135. By virtue of the acts alleged herein Defendant made or presented false or
fraudulent claims and performed one of more acts to effect payment of false or fraudulent claims

136. Section 68.082 provides liability for any person who:

(a) Knowingly presents or causes to be presented to an officer or employee of
an agency a false or fraudulent claim for payment or approval;

(b) Knowingly makes uses, or causes to be made or used a false record or
statement to get a false or fraudulent claim paid or approved by an agency;

(c) Conspires to submit a false or fraudulent claim to an agency or to deceive

an agency for the purpose of getting a false or fraudulent claim allowed or
paid.

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137. Defendant knowingly violated section 68.082 and knowingly caused numerous
false claims to be made, used, and presented to the state of Florida,

138. The state of Florida, by and through the Florida Medicaid program and other state
health care programs and unaware of the fraudulent and illegal practices of Defendant, paid the
false and/or fraudulent claims

139. Compliance with applicable Medicare, Medicaid, and the other various other
federal and state laws cited herein was an implied and also an express condition of payment of
claims submitted to the state of Florida in connection with the fraudulent and illegal practices of
Defendants

140. The false statements representations and records made by the Defendants had the
potential to and did in fact influence the state of Florida's decisions on payment

141. The ultimate submission by the Defendant of false and/or fraudulent claims to the
state Medicaid program was a foreseeable factor in the state of Florida’s loss, and a consequence
of the scheme As a result of Defendant’s violations of section 68.082 of the Florida Statutes, the
state of Florida has been damaged

142. This Court is requested to accept pendent jurisdiction of this related state claim as
it is predicated upon the exact same facts as the federal claim, and merely asserts separate
damage to the state of Florida in the operation of its Medicaid program.

DEMAND FOR RELIEF

WI-IEREFORE, Relators, on behalf of the United States and the state of Florida, hereby
demand judgment against Defendant as follows:
As to the Federal Claims:

a. Pursuant to 31 U.S.C. § 3729(a), Defendant pay an amount equal to three times the
amount of damages the United States Govemment has sustained because of Defendant’s

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conduct, plus a civil penalty of not less than $5,500 and not more than $11,000 or such
other penalty as the law may permit and/or require for each violation of 31 U.S.C. §
3729, et seq;

b. Relators be awarded the maximum amount allowed pursuant to 31 U.S.C. § 3729(d) of
the False Claims Act and/or any other applicable provision of law;

c. Relators be awarded all costs and expenses of this action, including attomeys’ fees as
provided by 31 U.S.C. § 3729(d) and any other applicable provision of the law; and

d. Relators be awarded such other and further relief as the Court may deem to be just and
proper.

As to the State Claims:

a. Pursuant to the Florida False Claims Act, §68.081 et. seq., Defendant pay an amount
equal to three times the amount of damages the state of Florida has sustained because of
Defendant’s conduct, plus a civil penalty of not less than $5,500 and not more than
$11,000 or such other penalty as the law may permit and/or require for each violation of
the Florida False Claims Act;

b. Relator be awarded the maximum amount allowed pursuant the Florida False Claims Act
and/or any other applicable provision of law;

c. Relator be awarded all costs and expenses of this action, including attorneys’ fees as
provided by the Florida False Claims Act and any other applicable provision of the law;
and

d. Relator be awarded such other and further relief as the Court may deem to be just and
proper. "

TRIAL BY JURY

Relators hereby demand a trial by jury as to all issues

Dated this girl day of April, 2015.

   

 

"A Yanchunis (FL Bar No. 324681)
\` anch is forthe eo le.com
. Young (FL Bar No. 567507)

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